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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION



ANDREW H. WARREN,

              Plaintiff,

v.                                            CASE NO. 4:22cv302-RH-MAF

RON DESANTIS,

              Defendant.

________________________________________/


             ORDER DISMISSING THE STATE-LAW CLAIM,
           DENYING THE MOTION TO DISMISS THE FEDERAL
          CLAIM, AND DENYING A PRELIMINARY INJUNCTION


       This case arises from the Florida Governor’s suspension of an elected State

Attorney ostensibly for announcing he would not prosecute cases of certain kinds.

The State Attorney asserts two claims against the Governor: first, that the

suspension violated the First Amendment, and second, that the suspension

exceeded the Governor’s authority under the Florida Constitution. The Governor

has not identified a single case the State Attorney failed to prosecute.

       The State Attorney has moved for a preliminary injunction. The Governor

has responded and has moved to dismiss. The Governor asserts the First



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Amendment claim fails on the merits—that is, that the complaint fails to state a

First Amendment claim on which relief can be granted. The Governor asserts the

Eleventh Amendment bars the state-law claim and alternatively that this claim, too,

fails on the merits.

       This order denies the motion to dismiss the First Amendment claim but

dismisses the state-law claim based on the Eleventh Amendment. The order denies

a preliminary injunction without reaching the merits. When the facts are known,

the case could come out either way.

   I. Background

       The plaintiff is Andrew H. Warren. He was elected as the State Attorney for

the Florida Thirteenth Judicial Circuit in 2016. He was reelected in 2020. The

defendant is Ron DeSantis, who was elected as the Governor of Florida in 2018.

He is standing for reelection on November 8, 2022. The complaint names him as a

defendant in his official and individual capacities and seeks declaratory and

injunctive relief, together with costs and attorney’s fees, not an award of damages.

       Under Florida’s system of government, a state attorney is an elected,

constitutional officer. Although serving in the executive branch, a state attorney is

not an employee of, or supervised by, the governor. A governor may, however,

suspend certain officials, including state attorneys, for “malfeasance, misfeasance,




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neglect of duty, drunkenness, incompetence, permanent inability to perform

official duties, or commission of a felony.” Fla. Const. art. IV, § 7(a).

       On August 4, 2022, Governor DeSantis issued an executive order

suspending State Attorney Warren. See Executive Order No. 22-176, ECF No. 1-1.

The executive order listed four writings as a basis for the suspension. The order

concluded the writings constituted a “blanket refusal” to enforce certain laws. Id. at

3. The order acknowledged a state attorney’s “complete discretion” in deciding

whether to prosecute any given case, but the order said a blanket refusal to

prosecute cases of a given kind is not a permissible exercise of that discretion. Id.

The order concluded, instead, that such a blanket refusal demonstrates both neglect

of duty and incompetence.

       With the possible exception of one sentence, nothing in any of the four

writings explicitly announced a blanket refusal to prosecute cases of any kind.

       The first cited writing was a statement joined by 74 prosecutors and law

enforcement officers from around the country pledging not to “promote the

criminalization of gender-affirming healthcare and transgender people.” Id. at 4 &

13–20. The signers were listed alphabetically, so Mr. Warren was third from last.

He was identified as the “State Attorney, 13th Judicial Circuit (Tampa), Florida.”

Id. at 20. Florida has no laws criminalizing trans people or gender-affirming

healthcare, and the writing did not include any pledge not to enforce any such laws



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that might then be in effect in other states or that might later be adopted in Florida

or elsewhere. A copy of the writing was attached to the executive order.

       The second and third writings were policies that Mr. Warren adopted for the

State Attorney’s office—that is, policies to guide the performance of the office’s

roughly 130 assistant state attorneys. The writings announced a presumption

against criminal prosecution of some kinds of cases, but the writings made clear

that cases of those kinds could sometimes be prosecuted; neither writing

announced a blanket refusal to pursue cases of any given kind. See ECF Nos. 1-3

& 1-4. And a different written policy instructed assistant state attorneys to

“exercise discretion based on the facts” in “every case.” ECF No. 1-2 at 3.

       The fourth writing was a statement joined by 92 prosecutors from around the

country addressing abortion. The signers were again listed alphabetically; this time

Mr. Warren was sixth from last. The writing included statements of opinion,

including, for example, that enforcing abortion bans will erode trust in the legal

system and retraumatize victims of sexual violence. ECF No. 1-1 at 22. But the

writing also said the signers “commit to exercise our well-settled discretion and

refrain from prosecuting those who seek, provide, or support abortions.” Id. A

footnote listed narrow exceptions: “We will continue to consider the prosecution of

individuals who violate the autonomy of a pregnant person by carrying out a forced




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abortion, or who perform an abortion negligently or with the intent to cause harm

to the pregnant person.” Id. at 22 n.2.

         Mr. Warren says the commitment to “refrain from prosecuting those who

seek, provide, or support abortions” was a promise only to use discretion, not a

blanket refusal to prosecute abortion offenses. But a fair reading, at least of this

one sentence, is that the signers claimed—and intended to exercise—the discretion

not to prosecute abortion offenses at all, subject to the narrow exceptions described

in the footnote. If so read, this was a blanket refusal to prosecute certain kinds of

cases.

         The record includes at least two other potential sources of information about

the Governor’s motivation for the suspension.

         First, on the day before the suspension, the Governor’s press secretary

tweeted that there would be a major announcement the next morning. The tweet

said everyone should “get some rest tonight” and “[p]repare for the liberal media

meltdown of the year.” ECF No. 3-10 at 2.

         Second, the Governor announced the suspension at an event at which he

spoke at some length and at which he introduced other speakers. See ECF No. 3-6.

The remarks were consistent with but far exceeded the explanation for the

suspension set out in the executive order itself. A fair description is that the

Governor and other speakers disagreed with Mr. Warren’s policies in general—that



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they favored a more strident “law and order” approach than Mr. Warren had put in

place.

   II. The State-Law Claim and the Eleventh Amendment

         With exceptions not applicable here, the Eleventh Amendment bars any

claim in federal court for declaratory or injunctive relief based on state law against

a state or state officer. This was the square holding of Pennhurst State School &

Hospital v. Halderman, 465 U.S. 89, 121 (1984). This requires dismissal of Mr.

Warren’s state-law claim.

         In asserting the contrary, Mr. Warren says Pennhurst applies only when the

real party in interest is the state as a sovereign, and that here, the real party in

interest is Mr. DeSantis himself, not the state. But that is just semantics. Mr.

Warren was an employee of the State of Florida, not of Mr. DeSantis individually.

Mr. Warren’s suspension was an official action of the State of Florida. Pennhurst

would be a dead letter, or nearly so, if it could be avoided simply by asserting that

the state official who took the challenged state action was the real party in interest.

Mr. Warren’s state-law claim is the very paradigm of a claim that, under

Pennhurst, cannot be adjudicated in federal court.

         Mr. Warren cites Florida Department of State v. Treasure Salvors, Inc., 458

U.S. 670 (1982), for the proposition that a state official who acts ultra vires—that

is, without authority under state law—does not share the state’s Eleventh



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Amendment immunity from injunction claims based on state law. But in Treasure

Salvors, the plaintiff was permitted to go forward on a claim that the plaintiff was

entitled, as a matter of federal admiralty law, to possession of property the plaintiff

salvaged from international waters; the claim did not arise under state law.

Moreover, in Pennhurst, the Court said any ultra vires exception to Eleventh

Amendment immunity applies only when a state official acts “without any

authority whatsoever,” not when the official’s act is an erroneous use of authority

that exists. Pennhurst, 465 U.S. at 101 n.11 (quoting Treasure Salvors, 458 U.S. at

697). A Florida governor has suspension authority, so Governor DeSantis’s

suspension of Mr. Warren, even if erroneous, would not qualify for any Pennhurst

exception for ultra vires acts.

       Mr. Warren also cites Lewis v. Clarke, 137 S. Ct. 1285 (2017), but the issue

there was only whether a driver could be held individually liable for negligently

crashing into another motorist, even if the individual was acting within the course

and scope of his duties for an Indian tribe. The decision speaks not at all to a

federal court’s authority to enter an injunction requiring official state action,

including, for example, reinstatement of a state employee.

       In sum, Mr. Warren’s state-law claim must be dismissed based on

Pennhurst. The dismissal on this basis is not a ruling one way or the other on




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whether the suspension violated state law. The dismissal does not affect one way

or the other the question whether Mr. Warren can obtain relief in state court.

   III. Standards on a Motion to Dismiss for Failure to State a Claim

       To survive a motion to dismiss for failure to state a claim on which relief

can be granted, a plaintiff must plead “factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). For purposes of a motion to dismiss,

the complaint’s factual allegations, though not its legal conclusions, must be

accepted as true. Id.; see also Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007). Credibility choices play no part in the analysis; a motion to dismiss is not

the vehicle by which the truth of a plaintiff’s factual allegations can be judged.

   IV. Standards on a Preliminary-Injunction Motion

       As a prerequisite to a preliminary injunction, a plaintiff must establish a

substantial likelihood of success on the merits, that the plaintiff will suffer

irreparable injury if the injunction does not issue, that the threatened injury

outweighs whatever damage the proposed injunction may cause a defendant, and

that the injunction will not be adverse to the public interest. See, e.g., Charles H.

Wesley Educ. Found., Inc. v. Cox, 408 F.3d 1349, 1354 (11th Cir. 2005); Siegel v.

LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (en banc).




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       On a preliminary-injunction motion, unlike on a motion to dismiss for

failure to state a claim, evidence is properly considered, and credibility choices can

be made.

   V. First Amendment Retaliation

       Removal of an elected official for expressing political views—or in

circumstances that plausibly support a claim that that happened—has occurred

only rarely in American history. Predictably, then, there is limited judicial

authority on the subject. It is useful to begin with the framework that applies to

First Amendment retaliation claims more generally, including those filed by rank-

and-file, at-will public employees.

       Because this order addresses both a motion to dismiss, on which the

complaint, attachments, and limited additional documents govern, and a

preliminary-injunction motion, on which all the record evidence may be

considered, this order sometimes refers to the complaint and attachments, and

sometimes to the other evidence, separating out the analysis only when it makes a

difference.

              A. The Elements of a First Amendment Retaliation Claim

       The elements of a First Amendment retaliation claim are (1) speech or

activity protected by the First Amendment, (2) an adverse action, and (3) a causal

connection between the protected speech or activity and the adverse action. See



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Bennett v. Hendrix, 423 F.3d 1247, 1250 (11th Cir. 2005) (adopting these elements

of a First Amendment retaliation claim); see also Kennedy v. Bremerton Sch. Dist.,

142 S. Ct. 2407 (2022) (reversing summary judgment for a school district that did

not renew a football coach’s contract because he prayed at midfield following a

game); Bond v. Floyd, 385 U.S. 116 (1966) (holding a state legislator could not be

excluded from office because of statements on matters of public interest).

       The complaint includes allegations easily sufficient to meet these

requirements. And there is evidence that would support, but in some respects not

compel, findings in Mr. Warren’s favor. This order addresses each of the three

elements in turn.

              B. Protected Speech or Activity

       The first and fourth writings cited in the executive order—the statements

joined by prosecutors from around the country on transgender issues and

abortion—are chock full of statements of opinion constituting core political

speech. Thus, for example, the first writing said transgender people are “some of

the most vulnerable Americans” and that attacks on them “will deeply harm public

safety.” ECF No. 1-1 at 13. The fourth writing said enforcing abortion bans will

erode trust in the legal system and retraumatize victims of sexual violence. Id. at

22.




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       Transgender and abortion issues have been the subject of proposed

legislation in Florida and elsewhere and likely will be again. These writings were

plainly intended to influence public opinion and, in turn, any proposed legislation.

If a member of the public at large or a typical rank-and-file state employee wrote a

letter to a newspaper—or in today’s world, issued a tweet—with comments like

these, nobody would seriously contend the comments were not protected by the

First Amendment. Nobody would seriously contend the employee could be

suspended or fired for making the comments.

       That Mr. Warren is an elected official, not a rank-and-file employee, does

not change the result. If anything, the distinction cuts the other way. In Bond, a

state argued that an elected official—there a legislator—had lesser First

Amendment rights than the public at large. The Supreme Court unanimously

rejected the assertion. Bond, 385 U.S. at 135–37. And just last term, the Supreme

Court said, again unanimously, “The First Amendment surely promises an elected

representative . . . the right to speak freely on questions of government policy.”

Houston Cmty. Coll. Sys. v. Wilson, 142 S. Ct. 1253, 1261 (2022). The Court added

that the role of elected officials “makes it all the more imperative that they be

allowed to freely express themselves.” Id. (quoting Republican Party of Minn. v.

White, 536 U.S. 765, 781 (2002)).




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       The Governor suggests Bond has lost its force, but the unanimous decision

in Wilson, decided just six months ago, cited and discussed Bond at length, with

nary a hint that its precedential value had ebbed. See Wilson, 142 S. Ct. at 1263.

The Governor also says Bond deals only with a legislator, not an official in the

executive branch. But Wilson involved an elected official in the executive branch,

a member of a college board of trustees, and Wood v. Georgia, 370 U.S. 375

(1962), involved a sheriff, also a member of the executive branch. White involved

campaigns for judgeships, part of the judicial branch. The suggestion that an

elected state attorney has no First Amendment right to comment on matters of

public concern, including transgender and abortion issues, is wrong.

       The Governor says, though, that the writings addressed prosecuting cases—

or not prosecuting cases—and that this is conduct, not speech. The distinction

between speech and other activity protected by the First Amendment, on the one

hand, and conduct not protected by the First Amendment, on the other hand, is not

always clear. See Wollschlaeger v. Governor, 848 F.3d 1293, 1307 (11th Cir.

2017). This order assumes that in this context, a state attorney’s prosecutorial

decisions are unprotected conduct. The Governor is correct that when conduct is

not protected, talking about it does not change that status. But the Governor is

incorrect when he suggests that the writings’ mention of conduct removes the

protection from the core political speech that is also included in the writings. The



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protected comments quoted above—and the many other examples included in the

writings—remain protected, despite any references to conduct also included in the

writings.

       The Governor also cites—and seemingly places his principal reliance on—

Garcetti v. Ceballos, 547 U.S. 410 (2006). There the plaintiff, an assistant state

attorney, allegedly suffered adverse action—a transfer and denial of a promotion—

because of a memorandum he wrote, as part of his job, criticizing the handling of a

search warrant. The plaintiff asserted a First Amendment claim. The Ninth Circuit

evaluated the claim under Pickering v. Board of Education, 391 U.S. 563 (1968),

which held that, when a public employee speaks as a citizen on a matter of public

concern, the speech is protected by the First Amendment. On review, the Supreme

Court held Pickering inapplicable: “We hold that when public employees make

statements pursuant to their official duties, the employees are not speaking as

citizens for First Amendment purposes, and the Constitution does not insulate their

communications from employer discipline.” Garcetti, 547 U.S. at 421 (emphasis

added). Instead, “government employers” must be afforded “sufficient discretion to

manage their operations.” Id. at 422 (emphasis added). The result: “the First

Amendment does not prohibit managerial discipline based on an employee’s

expressions made pursuant to official responsibilities.” Id. at 424 (emphasis

added).



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          Garcetti does not help the Governor for two reasons.

          First, Garcetti deals with government supervisors, their subordinates, and

managerial discipline. The decision includes not a word about the First

Amendment rights of elected officials—the issue decided in Bond—and the

decision’s rationale simply does not apply to them. Elected officials are beholden

to their constituents, not to some other elected official, even if the other official

ranks higher. Here, for example, the Governor was not Mr. Warren’s boss and had

no right to dictate how Mr. Warren did his job—whom he hired, what policies he

adopted, or any of the myriad other policy matters a state attorney must address.

As the Florida Supreme Court has put it, “the power to remove is not analogous to

the power to control.” Whiley v. Scott, 79 So. 3d 702, 715 (Fla. 2011).

          The voters in the Thirteenth Judicial Circuit elected Mr. Warren, not Mr.

DeSantis, to serve as their state attorney. As Bond recognizes, Mr. Warren could

not be excluded from his elected position for exercising his First Amendment

rights.

          The better view thus is that Bond, not Garcetti, applies to elected officials.

And the weight of circuit authority supports this analysis. In Boquist v. Courtney,

32 F.4th 764, 780 (9th Cir. 2022), the court squarely held Garcetti inapplicable to

elected officials. In Phelan v. Laramie County Community College Board of

Trustees, 235 F.3d 1243, 1247 (10th Cir. 2000), which came after Pickering but



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predated Garcetti, the court held Pickering inapplicable to elected officials, based

on analogous reasoning. In Rangra v. Brown, 566 F.3d 515, 522–27, reh’g en banc

granted, 576 F.3d 531, vacated as moot, 584 F.3d 206 (5th Cir. 2009), a Fifth

Circuit panel held Garcetti inapplicable to elected officials, but the decision was

vacated as moot while en banc review was pending. In Werkheiser v. Pocono Twp.,

780 F.3d 172, 177–79 (3d Cir. 2015), the Third Circuit discussed the issue and

recognized the difference between elected officials and unelected employees, but

the court did not decide the issue because a ruling was not essential to the outcome.

       The only circuit decision cited by the Governor as authority for his contrary

view is Parks v. City of Horseshoe Bend, 480 F.3d 837, 840 n.4 (8th Cir. 2007).

There the Eighth Circuit said, in dictum in a footnote, that the plaintiff elected

official’s speech would not be protected if made pursuant to his official duties. For

this the court cited Garcetti, did not mention Bond, and did not discuss or

apparently even recognize the issue of whether Garcetti applies to elected officials.

Dictum is “not binding on anyone for any purpose,” United States v. Garcia, 405

F.3d 1260, 1274 (11th Cir. 2005) (quoting McDonald’s Corp. v. Robertson, 147

F.3d 1301, 1315 (11th Cir.1998) (Carnes, J., concurring)). And this is especially

true when the dictum does not analyze or even recognize an issue on which it is

cited. Parks does not help the Governor.




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       Second, joining in writings with other prosecutors addressing issues of

nationwide concern—writings like those attached to the executive order

suspending Mr. Warren—was not part of his “official duties” as the Thirteenth

Judicial Circuit State Attorney, at least as that term is used in Garcetti. See Lane v.

Franks, 573 U.S. 228, 240 (2014) (“The critical question under Garcetti is whether

the speech at issue is itself ordinarily within the scope of an employee’s duties, not

whether it merely concerns those duties.”) (emphasis added here and as later

quoted in Alves); Alves v. Bd. of Regents of Univ. Sys. of Ga., 804 F.3d 1149,

1159–62 (11th Cir. 2015) (“After Lane, the exception to First Amendment

protection in Garcetti . . . must be read narrowly to encompass speech that an

employee made in accordance with or in furtherance of the ordinary

responsibilities of her employment, not merely speech that concerns the ordinary

responsibilities of her employment.”).

       To be sure, the lists of signers at the end of the writings identified Mr.

Warren as the Florida Thirteenth Judicial Circuit State Attorney, just as they

identified the dozens of other signers by their positions. But Mr. Warren had no

“duty,” as state attorney, to join in writings of this kind, let alone to join in these

specific writings. By signing the statements, Mr. Warren took no official action.

Any more general duty, as an elected official, to take positions on matters of public

concern was not an “official” duty within the meaning of Garcetti.



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       The bottom line: the writings attached to the executive order included speech

protected by the First Amendment. The complaint meets the first of the three

elements of a First Amendment retaliation claim, even without considering the

broader First Amendment interests of Mr. Warren and his constituents in the

elected position. See, e.g., Bond, 385 U.S. at 135–36; Velez v. Levy, 401 F.3d 75,

95–98 (2d Cir. 2005). The evidence would support a finding that protected speech

or activity was a motivating factor in the Governor’s decision.

              C. Adverse Action

       Suspending an officeholder, or indeed any employee, especially when

accompanied by an interruption of pay, is an adverse action. See Wilson, 142 S. Ct.

at 1260–61 (stating that removal from employment is an “easy to identify” adverse

action). The Governor does not assert the contrary and could not reasonably do so.

The complaint alleges, and the record would support and indeed compel a finding,

that this second element of a First Amendment retaliation claim has been met.

              D. Causal Connection

       The complaint adequately alleges, and the record would support a finding,

that there was a causal connection between the suspension and the first and fourth

writings. Indeed, the executive order cited, discussed, and attached the writings.

       This does not necessarily mean, of course, that there was a causal connection

between the suspension and any given part of the writings. But in addressing Mr.



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Warren’s burden at the initial stage of the analysis, it is enough to note that the

complaint adequately alleges, and the limited record now before the court would

support a finding, that there was a causal connection between the suspension and

protected speech included in the first and fourth writings, regardless of whether

other parts of the writings were unprotected. See Beckwith v. City of Daytona

Beach Shores, 58 F.3d 1554, 1564 (11th Cir. 1995) (describing the plaintiff’s

burden on this issue as “not a heavy one.”).

              E. The Same-Decision Defense

       When a plaintiff’s First Amendment-protected speech or activity is a

motivating factor in a defendant’s decision to take adverse action against the

plaintiff, the defendant may assert as an affirmative defense that the defendant

would have taken the same adverse action anyway, even in the absence of the

protected speech or activity. See Mt. Healthy City Sch. Dist. Bd. of Educ. v. Doyle,

429 U.S. 274 (1977); Beckwith, 58 F.3d at 1563–64. The burden of proof on the

same-decision defense is on the defendant. See Mt. Healthy, 429 U.S. at 287.

       Here, the Governor has not (yet) asserted a same-decision defense. He has

not cited Mt. Healthy. The only evidence in the record to this point that would

support a same-decision defense is the assertion in the executive order that Mr.

Warren’s “declared refusal to prosecute abortion cases is alone sufficient to justify

his suspension and removal for neglect of duty and incompetence.” ECF No. 1-1 at



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8. This is followed closely, though, by the statement that because of Mr. Warren’s

refusal to prosecute cases, he “can no longer be trusted to fulfill his oath of office.”

Id. at 9. This closely tracks the ground invoked in Bond for excluding a state

legislator from his position—the ground the United States Supreme Court held

unavailing.

       In any event, the law is settled, even for plaintiffs who are not elected

officials, that a defendant’s proffered reasons for taking action against a plaintiff

are not necessarily controlling. It is commonplace for a plaintiff in an employment

case to assert a defendant’s purported reasons for disciplinary action were

pretextual. See, e.g., Tracy v. Fla. Atl. Univ. Bd. of Trs., 980 F.3d 799 (11th Cir.

2020); Stanley v. City of Dalton, 219 F.3d 1280, 1291 n.20 (11th Cir. 2000). There

is at least some evidence that might raise the issue here: the night before Mr.

Warren’s suspension was announced, the Governor’s press secretary tweeted that

everyone should prepare for the liberal media meltdown of the year. That might

suggest a political motive for the suspension, or it might suggest only an awareness

that the suspension would be perceived by others as politically motivated. Neither

the Governor nor the press secretary has explained the tweet.

       On the limited record now before the court, no finding can be made with

confidence on whether the Governor would have suspended Mr. Warren based on




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his blanket refusal to prosecute most types of abortion cases—if that is what it

was—even without regard to Mr. Warren’s other, protected speech.

              F. The Elrod-Branti Principle

       The Supreme Court has made clear that a government employer ordinarily

cannot terminate employees based on political patronage—that is, for supporting

an opposing political party or based on other partisan considerations. See Branti v.

Finkel, 445 U.S. 507 (1980); Elrod v. Burns, 427 U.S. 347 (1976).

       There is an exception for employees whose party affiliation or political

loyalty is an appropriate requirement for effective performance of the job. Thus,

for example, an elected official is entitled to a chief of staff whose political views

line up with the official’s. The Eleventh Circuit applies the exception broadly. See,

e.g., Cutcliffe v. Cochran, 117 F.3d 1353 (11th Cir. 1997) (holding that a Florida

sheriff could remove deputy sheriffs at all levels based on partisanship).

       The Governor has not asserted he could lawfully suspend Mr. Warren based

on their political differences. And this is understandable: in the Florida system,

political loyalty to the Governor is not an appropriate requirement for effective

performance of a state attorney’s job. The Governor does not claim it is.

              G. Elected Officials

       The analysis set out to this point started with the elements of a typical First

Amendment retaliation case—the elements applicable even to a plaintiff who is not



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an elected official. Two cases make clear that an elected official has at least as

great a First Amendment right as a typical plaintiff.

       First, in Bond, the Supreme Court held that an elected official was entitled to

his position despite the state’s invocation of a ground for exclusion—inability to

follow his oath of office—that, if true, surely would have supported exclusion. The

Court itself analyzed the record to determine whether the asserted ground was true;

the Court did not give the same deference to the state’s position as would occur in

a typical case not involving an elected official. See Bond, 385 U.S. at 132–37. In a

typical case, an “employer may fire an employee for a good reason, a bad reason, a

reason based on erroneous facts, or for no reason at all, as long as its action is not

for a [prohibited] reason.” Nix v. WLCY Radio/Rahall Commc’ns, 738 F.2d 1181,

1187 (11th Cir. 1984) (Wisdom, J.) (emphasis added); see also Chapman v. AI

Transp., 229 F.3d 1012, 1030 (11th Cir. 2000); Elrod v. Sears, Roebuck & Co.,

939 F.2d 1466, 1470 (11th Cir. 1991).

       Second, in Velez v. Levy, 401 F.3d 75 (2d Cir. 2005), an elected community

school board member asserted a First Amendment claim based on her removal

from office by the school district’s elected chancellor. The chancellor had authority

to remove school board members for specified categories of misconduct, and he

based this removal on alleged misconduct that, if it had occurred, would have

authorized the removal. The plaintiff claimed the misconduct did not occur—that



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the asserted grounds for removal were pretextual and the real reason for the

removal was political disagreement. The Second Circuit held that the complaint

stated a First Amendment claim on which relief could be granted. This was a

holding that when an executive-branch elected official with authority to remove a

lower-ranking executive-branch elected official on limited grounds takes action

purportedly on those grounds, the lower-ranking official may prevail on a First

Amendment claim by showing that the real reason for the action was political

disagreement between the officials, not the cited grounds. This is a factual issue.

       The event at which the Governor announced Mr. Warren’s removal included

statements by the Governor and his supporters emphasizing their political

disagreements with Mr. Warren. The record does not make clear whether those

political disagreements were a reason for Mr. Warren’s suspension or whether he

would have been suspended anyway, without regard to the political differences.

   VI. Younger Abstention

       The Supreme Court established an abstention doctrine in Younger v. Harris,

401 U.S. 37 (1971), holding that, with narrow exceptions, a federal court must not

interfere with an ongoing state criminal prosecution. In Middlesex County Ethics

Commission v. Garden State Bar Ass’n, 457 U.S. 423, 432 (1982), the Court

extended Younger to “noncriminal judicial proceedings when important state




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interests are involved.” Middlesex involved a bar disciplinary proceeding

conducted under the auspices of the state supreme court.

       The Governor asserts Younger applies here because Florida Senate review of

a suspension is a judicial proceeding.

       Middlesex establishes three prerequisites to Younger abstention: “first, [is

there] an ongoing state judicial proceeding; second, do the proceedings implicate

important state interests; and third, is there an adequate opportunity in the state

proceedings to raise constitutional challenges.” Id. at 432. Here there is no ongoing

state proceeding, judicial or otherwise. And a Senate proceeding, if one ever

begins, will not provide an adequate opportunity to address the suspension decision

itself, let alone the constitutional challenge to it.

       On the first prerequisite—an ongoing state judicial proceeding—the Florida

Senate’s rules state that “action” on a governor’s suspension decision is

“institute[d]” when a notice of hearing is transmitted, “[u]nless suspension

proceedings are held in abeyance.” Fla. Sen. R. 12.9. At least as shown by this

record, no notice of hearing has been transmitted, so no proceeding has begun. And

the “held in abeyance” clause makes doubly clear that no proceeding is ongoing:

the Senate has explicitly said there will be no Senate proceeding until this federal

lawsuit is over. Letter from Fla. Senate Sec’y Brown to Warren (Aug. 17, 2022),

https://www.flsenate.gov/usercontent/session/executivesuspensions/Warren_Andre



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w/081722AndrewWarrenNoticeofAbeyance.pdf (cited at ECF No. 46 at 24). This

failure to meet the first Middlesex criterion is sufficient, standing alone, to render

Younger inapplicable.

       This makes it unnecessary to decide whether a Senate proceeding, if one

begins, will be “judicial.” What matters is the nature of the proceeding, not

whether the tribunal is a traditional court. See New Orleans Pub. Serv., Inc. v.

Council of City of New Orleans, 491 U.S. 350, 372 (1989). The Florida Supreme

Court has said that in reviewing a suspension, the Senate “is nothing less than a

court,” State ex rel. Hardie v. Coleman, 155 So. 129, 134 (Fla. 1934), but whether

a proceeding is “judicial” for Younger purposes is a question of federal, not state

law. The Governor has cited no case applying Younger to political bodies or

proceedings remotely like those involved here. And in every proceeding held

“judicial” for Younger purposes, judicial review—review in a traditional court—

has been available at some stage of the proceeding.

       This leads into the third Middlesex prerequisite—an adequate opportunity in

the state proceeding to raise constitutional challenges. Mr. Warren will have no

adequate opportunity to raise his constitutional challenges in a state proceeding,

even if one occurs, for two reasons.

       First, this lawsuit involves the suspension, while any Senate proceeding will

involve removal, not necessarily on the same grounds. The Governor insists that



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the Senate will be obligated to consider not just the alleged neglect of duty or

incompetence cited by the Governor as grounds for Mr. Warren’s suspension, but

also—or perhaps instead—any different grounds asserted by the Governor between

now and then. See Hr’g Tr., ECF No. 59 at 43-44. The issue in a Senate

proceeding, if there ever is a Senate proceeding, will not be whether the evidence

establishes the legal and factual basis for the suspension that occurred. Instead, the

issue will be whether the evidence establishes a legal and factual basis for removal

on any grounds that may be asserted by the Governor at that time.

       Second, even if the Senate was required to consider only the grounds on

which the suspension was based, Mr. Warren still would not have an adequate

opportunity to raise his federal constitutional claims there. This is so because there

would be no opportunity for meaningful judicial review—for review in a court at

any level. The Florida Supreme Court has held that when a governor alleges a

legitimate factual basis for a suspension decision, the role of the Florida courts is at

an end—a Florida court cannot review the sufficiency of the evidence to prove the

allegation. See, e.g., Israel v. DeSantis, 269 So. 3d 491, 495 (Fla. 2019). Asked at

oral argument in the case at bar for any authority applying Younger to a state

proceeding affording no opportunity for review in a court, the Governor could cite

none. Courts applying Younger have emphasized time and again the critical role of

judicial review. See Ohio Civil Rights Comm’n v. Dayton Christian Schs., Inc., 477



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U.S. 619, 629 (1986) (stating that the opportunity for “state-court judicial review”

of administrative action that is judicial in nature is a sufficient opportunity to raise

federal constitutional claims); see also Pompey v. Broward Cnty., 95 F.3d 1543,

1551 (11th Cir. 1996) (stating that what matters under Younger is the plaintiff’s

ability to raise (not necessarily succeed on) “his constitutional claims in the state

courts, from which a certiorari petition can be filed seeking review on the merits in

the United States Supreme Court”); Baffert v. Cal. Horse Racing Bd., 332 F.3d

613, 620–21 (9th Cir. 2003) (outlining the available, extensive state-court review

as a basis for holding there was an adequate opportunity to present constitutional

claims in a state proceeding).

       In addition to the three Middlesex prerequisites, there is another limitation:

Younger does not apply when there are “circumstances suggesting bad faith,

harassment or irreparable injury that is both serious and immediate.” Gibson v.

Berryhill, 411 U.S. 564, 574 (1983) (emphasis added). Mr. Warren has alleged

circumstances suggesting serious and immediate irreparable injury to Mr. Warren

and, perhaps more importantly, his constituents, if not also bad faith. See, e.g.,

Wilson v. Thompson, 593 F.2d 1375, 1383 (5th Cir. 1979). Younger has never been

applied in circumstances quite like these.

       In sum, Younger does not bar this action.




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   VII. Pullman Abstention

       Under Railroad Commission of Texas v. Pullman Co., 312 U.S. 496 (1941),

a federal court may abstain from deciding a federal constitutional question when a

state court’s resolution of an unclear issue of state law might moot the federal

constitutional question or present it in a substantially different light. The Governor

says this requires abstention here, but the only purportedly unclear issue of state

law he has identified has nothing to do with the merits. That issue is whether the

Florida Senate, if it eventually decides to go forward and considers whether to

remove Mr. Warren from office as advocated by the Governor, may consider Mr.

Warren’s assertion that doing so would violate the First Amendment.

       There is no chance—none—that the substantive First Amendment issue that

is the subject of this federal lawsuit will be rendered moot by a ruling on the

Senate’s authority to address that issue. So Pullman has nothing to do with it. The

Governor has cited no case suggesting a procedural issue unrelated to the merits of

a federal claim can be a basis for Pullman abstention. Instead, the Governor cites a

case in which the Eleventh Circuit certified a similar question to a state supreme

court. See Butler v. Ala. Jud. Inquiry Comm’n, 245 F.3d 1257, 1265–66 (11th Cir.

2001). But a circuit court’s certification of a state-law question leaves any federal

claim pending in the circuit court; certification is a far different process,

permissible under far different standards, than abstention. Butler did not cite



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Pullman or suggest that Pullman abstention was required or even permissible

based on the procedural issue the court certified.

   VIII. Applying the Preliminary-Injunction Standards

       As set out above, four factors control a district court’s decision whether to

grant a preliminary injunction. The first factor, likelihood of success on the merits,

is often the most important. Here, though, the existing record is insufficient to

allow a reliable assessment at this time of which side is likely to prevail on the

merits.

       The decisive factor, instead, is the fourth: the public interest. Changes at the

top of any enterprise can be disruptive. The Governor has replaced Mr. Warren

with a new state attorney, and she has made substantial changes. If Mr. Warren is

to be reinstated, it should happen once. Reinstating him now, when it cannot be

predicted with confidence that he will ultimately prevail in the litigation, risks

further disruption. The public interest calls for proceeding to trial as soon as

possible, but the public interest does not support entry of a preliminary injunction.

   IX. Conclusion

          For these reasons,

          IT IS ORDERED:

       1. The motion for a preliminary injunction, ECF No. 3, is denied.




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       2. The motion to dismiss, ECF No. 30, is granted in part and denied in part.

The state-law claim is dismissed without prejudice based on the Eleventh

Amendment. The federal claim is not dismissed.

       SO ORDERED on September 29, 2022.

                                       s/Robert L. Hinkle
                                       United States District Judge




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